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15
                              IN THE UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                       SAN FRANCISCO DIVISION
18
     In re: CATHODE RAY TUBE (CRT) ANTITRUST ) Case No. 07-5944 SC
19   LITIGATION                              ) MDL. No. 1917
                                             )
20   This Document Relates to:                 [PROPOSED] ORDER GRANTING
                                               PANASONIC DEFENDANTS’
21   INDIRECT-PURCHASER ACTIONS                ADMINISTRATIVE MOTION TO
22                                             SEAL DOCUMENTS PURSUANT TO
                                               CIVIL LOCAL RULES 7-11 AND 79-
23                                             5(c)

24
            On January 22, 2013, Defendants Panasonic Corporation, Panasonic Corporation of North
25
     America, and MT Picture Display Co. Ltd. (collectively, “Panasonic Defendants”) filed the
26

27   Additional Errata to the Declaration of Robert D. Willig in support of Defendants’ Opposition to

28   Indirect-Purchaser Plaintiffs’ Motion for Class Certification (“Additional Willig Errata”).
     [PROPOSED] ORDER GRANTING DEFENDANTS’                                               Case No. 07-5944 SC
     ADMINISTRATIVE MOTION TO SEAL DOCUMENTS                                                  MDL No. 1917
        Case 4:07-cv-05944-JST Document 1537-2 Filed 01/22/13 Page 2 of 2




            With respect to this document, the Panasonic Defendants also filed an Administrative Motion
 1

 2   to Seal Documents Pursuant to Civil Local Rules 7-11 and 79-5(c) (“Motion to Seal”) seeking leave

 3   to file this document, or portions thereof, under seal.

 4          On January 22, 2013, the Panasonic Defendants filed the Declaration of Eva W. Cole in
 5
     Support of the Motion to Seal.
 6
            After due consideration of the papers submitted, the Court’s previously entered Protective
 7
     Order, and the Court’s file in this matter, and good cause appearing therefore, IT IS HEREBY
 8
     ORDERED THAT the Motion to Seal is GRANTED with respect to those portions of the Additional
 9

10   Willig Errata identified by the Panasonic Defendants in their supporting Declaration.

11          1.       The Clerk shall place in the public record the following document:
12                 i. The redacted version of the Additional Willig Errata as lodged by the Panasonic
13
                     Defendants on January 22, 2013.
14
     All other documents filed under seal by the Panasonic Defendants on January 22, 2013 shall remain
15
     under seal.
16

17          IT IS FURTHER ORDERED that, to maintain the effect of the seal under Civil Local Rule

18   79-5(f), the parties, their counsel, and their declarants shall not publicly disseminate or discuss any

19   of the sealed documents or their contents absent further order of the Court.
20
     IT IS SO RECOMMENDED.
21

22   Dated:___________________                      _____________________________________________
                                                                 Hon. Charles A. Legge
23                                                                   Special Master
24   IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.
25
     Dated:___________________                      _____________________________________________
26                                                                 Hon. Samuel Conti
                                                               United States District Judge
27

28
                                                      -2–
     [PROPOSED] ORDER GRANTING PANASONIC DEFENDANTS’                                      Case No. 07-5944 SC
     ADMINISTRATIVE MOTION TO SEAL DOCUMENTS                                                   MDL No. 1917
